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607 - 6th Floor West Courtroom, 1:00 P.M.                              Thursday, December 8, 2022

                                       Boggs, Kethledge, White
21-1785 / 21-1786 / 21-1787 / 22-1010 Timothy King, et al. v. Gretchen Whitmer, et al.

 Timothy King

         Plaintiff

 L. Lin Wood                                                         ret   Paul J. Stablein

         Interested Party – Appellant [21-1785]

 Gregory J. Rohl, et al.                                             ret   Sidney Powell

         Interested Parties – Appellants [21-1786]

 Emily Newman                                                        ret   Timothy E. Galligan

         Interested Party – Appellant [21-1787]

 Stefanie Lynn Junttila                                              ret Stefanie Lynn Junttila

         Interested Party – Appellant [22-1010]


                               V.

 Gretchen Whitmer, et al.                                            ret   Heather S. Meingast

 City of Detroit, MI                                                 ret   David H. Fink

         Defendants – Appellees




In these consolidated matters, plaintiff's counsel appeals as an interested party from a district court's
order approving an award of attorney fees to be paid by plaintiff's counsel as sanction for filing a
frivolous suit alleging fraud in the 2020 presidential election. (30 Minutes to be Shared by Appellants;
30 Minutes to be Shared by Appellees)
